Case 2:18-cv-03007-JS-AKT Document 132 Filed 10/05/18 Page 1 of 4 PagelD #: 310

NE WILSONELSER

LSON ELSER MOSKOWITZ EDELMAN & DICKER LL

Peter A. Meisels, Esq.
Direct dial: (914) 872-7156
peter.meisels@wilsonelser.com

 

October 5, 2018

VIA ECF

Hon. Joanna Seybert

United States District Court Judge
Eastern District of New York

Alfonse M. D’Amato Federal Building
United States District Court

100 Federal Plaza

Central Islip, New York 11722

Re: Joseph Jackson v. Nassau County et al., Docket No. 18-cv-3007
Our File No.: 12473.00014

Dear Judge Seybert:

We represent the defendants Nassau County (“Nassau County”) and the Nassau County Police
Department the (the “Police Department’), as well as individual defendants Gary Abbondandelo, Martin
Alger, Francis Allaire, John Benner, Robert Dempsey, John Fitzwilliam, Michael Herts, John Holland,
Anthony Kosier, Richard Lester, Kevin Lowry, George Ludwig, Dennis McHale, Stephen Paylick,
Thomas Peterson, Daniel Severin, John Sharkey, Anthony Sorrentino, WalterTriesch, William Tweedie
and William Woolsey (the “individual County defendants”) in this action. We also appear in a limited
capacity to represent defendant Douglas Baralo, Walter Erdmann, Kenneth Hall, Jerl Mullen, Thomas
Murray, Sergeant Noll, Dominick Parrella, Elmer Richardson and James Turner (the “service
defendants”) in order to contest service, only. We write pursuant to Rule I'V(G) of Your Honor’s
Individual Rules of Practice in order to request a pre-motion conference regarding the County, individual
defendants and service defendants’ proposed motion to dismiss the complaint.

1. Factual History. On March 20, 1994, Steven Jason was fatally shot. D.E. #1, at 4919-20. After
an investigation, plaintiff was arrested and, after an interrogation, confessed to the murder. Jd. at {{27,
35. The case against plaintiff was also based, in part, on a direct identification by an alleged accomplice,
Peddie Jenkins, and an eyewitness to the crime, Skwanitra Witherspoon. Jd. at 935-36. Plaintiff was
convicted of murder and related crimes, and sentenced to 25 years to life in prison. Jd. at 39.

During the course of the investigation, two other witnesses gave written statements to the police
in which they described the suspect as having a “dark brown face.” Jd. at §25. Plaintiff, who describes
himself as having a “very light complexion,” alleges that these witness statements are “deeply
exonerative” because he does not meet that description. /d. at [26. Plaintiff alleges that the defendants
withheld the existence of those two witnesses, as well as their statements, from him. /d. Plaintiff further
alleges that defendants provided false sworn testimony regarding those witnesses, and that his confession

1133 Wesichesler Avenue « White Plains, NY 10604 * p 914.323.7000 » [914.323.7001

 

Albany ¢ Ballimore * Bosion * Chicago * Conneclicul * Dallas * Denver » Gordan Cily ¢ Houslon e Kentucky * las Vegas * london » los Angeles » Miami
Milwoukee * New Jersey « New York * Orlando  Philadelphio » San Diego * San Francisco * Virginia » Washinglon, DC * Wes! Palm Beach « White Plains
Affiliaies: Berlin * Cologne » FrankFurl * Munich « Parls

wilsonelser.com

7264994yv.2
Case 2:18-cv-03007-JS-AKT Document 132 Filed 10/05/18 Page 2 of 4 PagelD #: 311

Hon, Joanna Seybert
October 5, 2018 Page 2

was coerced. Jd. at 429, 33. However, as a report incorporated by reference into the complaint
demonstrates, the defense was provided with a police report naming the witnesses, providing their phone
numbers and stating that they had given written statements.

In 2007, the plaintiff allegedly obtained the two additional witness statements through a FOIL
request. After receiving no response from various defense attorneys and the Exoneration Initiative,
plaintiff brought the statements to the attention of the Nassau County District Attorney’s Conviction
Integrity Unit in 2017. D.E. #1, at §40. After an investigation, the CIU filed a motion to set aside the
conviction. Jd. at J941-43. On February 16, 2018, that motion was granted, the indictment was
dismissed, and the plaintiff was released from prison. Jd. at 944.

On May 22, 2018, plaintiff filed the complaint in this action, asserting claims against all
defendants for: (1) federal malicious prosecution; (2) fabrication of evidence in violation of the Fourth
and Fourteenth Amendments; (3) “§1983 coercion”; (4) §1983 supervisory liability; (5) Monell custom
and policy and failure to train; (6) state law malicious prosecution; (7) state law false imprisonment; (8)
intentional or negligent infliction of emotional distress; and (9) failure to intervene.

2. The Complaint Against the Individual County Defendants Should be Dismissed. It is well
settled that “personal involvement of defendants in alleged constitutional deprivations is a prerequisite to
an award of damages under §1983.” Wright v. Smith, 21 F.3d 496, 501 (2d Cir. 1994) (quoting Moffitt v.
Town of Brookfield, 950 F.2d 880, 885 (2d Cir. 1991). Personal involvement is also a prerequisite to
liability for the state law claims. See Levantino v. Skala, 56 F. Supp.3d 191, 207 (E.D.N.Y. 2014).
Indeed, courts have consistently held that, “where the complaint names a defendant in the caption but
contains no allegations indicating how the defendant violated the law or injured the plaintiff, a motion to
dismiss the complaint in regard to that defendant should be granted.” Volpe v. Nassau County, 915 F.
Supp.2d 284, 299 (E.D.N.Y. 2013) (quoting Dove v. Fordham Univ., 56 F. Supp.2d 330, 335 (S.D.N.Y.
1999)). Moreover, supervisory officials cannot be held liable merely because they hold a position of
authority. Black v. Coughlin, 76 F.3d 72, 74 (2d Cir. 1996). Instead, in order to hold a supervisor liable
under §1983, a plaintiff must allege either “direct participation, or failure to remedy the alleged wrong
after learning of it, or creation of a policy or custom under which unconstitutional practices occurred, or
gross negligence in managing subordinates.” Jd. (internal citation omitted).

Here, the complaint alleges only that “defendants” collectively fabricated evidence, withheld
exculpatory evidence, and otherwise violated the plaintiffs’ constitutional rights. See, e.g., D.E. #1, at
4126, 28, 37, 38, 60, 61, 75, 81, 83, 87-88. Indeed, out of the 42 defendants named in the caption,
plaintiff identifies only three individuals in the entire body of the complaint. Even as to those particular
defendants, plaintiff fails to set forth the specific actions taken by each that violated the law, instead
relying on conclusory allegations of wrongdoing.' Moreover, plaintiff refers to “supervisors” collectively
without identifying who those supervisors are, or what specific unconstitutional actions they took. Jd. at
4190-95. Therefore, the complaint fails to allege that any of the individual County defendants personally
participated in the alleged constitutional violations, and the complaint should be dismissed as against
them. See Volpe, 915 F. Supp.2d at 299; see also Gilfus v. Adessa, 2006 WL 2827132, at *4 (N.D.N.Y.
Sept. 30, 2006) (dismissing complaint where “Plaintiffs’ allegations fail to explain with the requisite level
of specificity how Defendants violated the law or caused any damages to Plaintiffs.”).

Even assuming, however, that the complaint sufficiently alleged personal participation by the 42
individual defendants, the claims fail as a matter of law. First, the documents incorporated by reference

 

' The reference in the complaint to defendant Dempsey’s involvement in Restivo v. Hesseman, 846 F.3d 547, 554
(2d Cir. 2017) is inappropriate. In that case, a jury specifically found that Dempsey and other individual Nassau
County defendants did not violate the plaintiffs’ constitutional rights. Dempsey was later voluntarily dismissed
from the case before it was re-tried. Plaintiff's allegation that Dempsey is “known to have procured false
confessions through improper tactics” is thus disproven by public documents. D.E. #1, at 931.

7264994v.2
Case 2:18-cv-03007-JS-AKT Document 132 Filed 10/05/18 Page 3 of 4 PagelD #: 312

Hon. Joanna Seybert
October 5, 2018 Page 3

in the complaint demonstrate that there was probable cause to arrest and prosecute plaintiff, even without
considering the alleged coerced confession, and that the defendants did not learn of any intervening facts
to undermine that probable cause. Therefore, the malicious prosecution claim fails. Powell v. Murphy,
593 Fed. Appx. 25, 28 (2d Cir. 2014).

Second, the fair trial claim fails, as: (1) plaintiff's criminal defense attorney had the essential facts
necessary to permit him to take advantage of the allegedly suppressed evidence, United States v. Payne,
63 F.3d 1200, 1208 (2d Cir. 1995); and (2) there is no reasonable probability that, had the two witness
statements been disclosed, or the plaintiff's confession excluded, the outcome of the trial would have
been different. See Castillo v. Mitchell, 1995 WL 653370, at *1 (S.D.N.Y. Nov. 7, 1995),

Third, plaintiff's “coercion” claim fails, as the documents incorporated by reference in the
complaint demonstrate that plaintiff received Miranda warnings, and spoke to the police voluntarily.
Thus, no Fifth Amendment violation occurred. See Edwards y. Arizona, 451 U.S. 477, 484-85 (1981).
Moreover, the Fifth Amendment’s due process clause only applies to the federal government, and is thus
not applicable here. See Ambrose v. The City of New York, 623 F. Supp.2d 454, 466-67 (S.D.N.Y. 2009).
Lastly, the plaintiff's allegation that his Sixth Amendment right to counsel was violated by the alleged
coerced confession fails as a matter of law, as plaintiff admits that he confessed prior to the initiation of
judicial proceedings. Thus, the Sixth Amendment right to counsel had not yet attached at the time that
plaintiff confessed. See Rothgery v. Gillespie Cty., 554 U.S. 191, 194 (2008).

3. The Claims Against the County Fail As A Matter of Law. The County also seeks dismissal of
the complaint pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure. First, as discussed
above, the complaint fails to allege an underlying constitutional violation. Therefore, there can be no
municipal liability. See Fappiano v. City of New York, 640 Fed. Appx. 115, 121 (2d Cir. Mar. 7, 2016).
In addition, the plaintiff's complaint contains only boilerplate allegations of an unconstitutional custom,
policy or practice, and of a failure to train, which are insufficient to state a claim of municipal liability.
See D.E. #1 at 9996-102; Duncan v. City of New York, 2012 WL 1672929, at *2-3 (E.D.N.Y. May 14,
2012) (citing Missel v. County of Monroe, 351 Fed. App’x 543, 545 (2d Cir. 2009)). Moreover, as an
agency of the County, the Police Department is not a “suable entity.” Williams v. City of New Rochelle,
2014 WL 2445768, at *2 (S.D.N.Y. May 29, 2014) (internal citation omitted). The plaintiff’s reference to
Kogut v. County of Nassau, 2012 WL 3704710, at * 2-3 (E.D.N.Y. Aug. 27, 2012) does not save
plaintiff’s claim, as this Court’s finding of an issue of fact sufficient to overcome summary judgment does
not establish the existence of an actual policy or custom; indeed, the County was dismissed as a party
prior to trial. Lastly, because the complaint fails to allege any plausible federal claims, this Court should
decline to exercise supplemental jurisdiction over the plaintiffs state law claims. See 28 U.S.C.
§1367(c)(3); Duncan, 2012 WL 1672929, at *3.

4. The Complaint Should be Dismissed as Against the Service Defendants. Plaintiff has also
failed to properly effectuate service on the service defendants pursuant to Rule 4(m) of the Federal Rules
of Civil Procedure. The service defendants are retired and deceased members of the Police Department.
Plaintiff attempted to serve all defendants, however, by serving the Police Department itself. That is not
proper service on persons who are no longer employed by the County or who are deceased. See Komlosi
v. New York State Office of Mental Retardation & Developmental Disabilities, 1990 WL 29352, at *3
(S.D.N.Y. Mar. 12, 1990); Johnson v. Schiff, 2013 WL 5466218, at *5 (N.D.N.Y. Sept. 13, 2013). ?

The defendants may raise additional arguments, but the foregoing are the main arguments that are
anticipated in response to the complaint. Accordingly, the defendants request that the Court schedule a
pre-motion conference to discuss their proposed motion.

 

2 The service defendants reserve the right to assert all defenses, including lack of personal involvement, if and when
they are properly served with the complaint.

7264994v,2
Case 2:18-cv-03007-JS-AKT Document 132 Filed 10/05/18 Page 4 of 4 PagelD #: 313

Hon, Joanna Seybert

October 5, 2018 Page 4

Respectfully submitted,

  

IN, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP

Ce: All parties via ECF

7264994y.2
